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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA

    v.
                                         Crim. Action No. 18-103 (EGS)
    TONY JOHN EVANS,

                        Defendant.


                        MEMORANDUM OPINION AND ORDER

         Defendant Tony John Evans (“Mr. Evans”), who has served

less than twenty-two percent of his sixty-month sentence for

interference with interstate commerce by extortion, moves for

compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A). See

generally Def.’s Mot. for Compassionate Release (“Def.’s Mot.”),

ECF No. 229. 1 Mr. Evans, proceeding pro se, is currently

incarcerated at the Federal Correctional Institution in Danbury,

Connecticut (“FCI Danbury”), which is a facility experiencing a

COVID-19 outbreak. The Attorney General has recognized FCI

Danbury as one of the Bureau of Prisons (“BOP”) facilities

experiencing “significant levels of infection” among inmates and

staff. Office of the Att’y Gen., Mem. for Dir. of BOP,

Increasing Use of Home Confinement at Institutions Most Affected

by COVID-19 (Apr. 3, 2020), Gov’t’s Ex. B, ECF No. 223-2 at 2.


1 When citing electronic filings throughout this Opinion, the
Court cites to the ECF page number, not the page number of the
filed document.
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     Pending before the Court is Mr. Evans’ Motion for

Compassionate Release. The government opposes his motion,

arguing that: (1) Mr. Evans fails to satisfy the requirements

for compassionate release; and (2) this Court lacks the

authority to direct BOP to transfer Mr. Evans to home

confinement. Gov’t’s Opp’n, ECF No. 232 at 1-2. Upon careful

consideration of the parties’ submissions, the applicable law,

and the entire record herein, the Court concludes that

compassionate release is inconsistent with the applicable

sentencing factors set forth in 18 U.S.C. § 3553(a). Therefore,

Mr. Evans’ motion is DENIED.

     Under the compassionate release statute, as amended by the

First Step Act, Pub. L. No. 115-391, § 603(b), 132 Stat. 5194,

5239 (2018), the Court may reduce a defendant’s term of

imprisonment, “after considering the factors set forth in

section 3553(a) to the extent that they are applicable, if it

finds that . . . extraordinary and compelling reasons warrant

such a reduction” and that “such a reduction is consistent with

applicable policy statements issued by the Sentencing

Commission.” 18 U.S.C. § 3582(c)(1)(A)(i). By its terms, the

Court may reduce a term of imprisonment “upon motion of the

Director of the Bureau of Prisons, or upon motion of the

defendant after the defendant has fully exhausted all

administrative rights to appeal a failure of the Bureau of

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Prisons to bring a motion on the defendant’s behalf or the lapse

of 30 days from the receipt of such a request by the warden of

the defendant’s facility, whichever is earlier.” Id.

§ 3582(c)(1)(A).

     Before turning to the requirements for compassionate

release, the Court briefly summarizes the relevant litigation

pending in the United States District Court for the District of

Connecticut. See Martinez-Brooks v. Easter, No. 3:20-CV-00569

(MPS), 2020 WL 2405350, at *32 (D. Conn. May 12, 2020) (granting

in part and denying in part the petitioners’ motion for

temporary restraining order against FCI Danbury). In Martinez-

Brooks v. Easter, a putative class action filed as a petition

for a writ of habeas corpus under 28 U.S.C. § 2241, four inmates

at FCI Danbury sought to represent a class of all male and

female inmates, as well as a subclass of “medically vulnerable”

inmates consisting of individuals who are at heightened risk for

serious illness or death from COVID-19. Id. at *1-*2.

     Judge Michael P. Shea found that the Warden of FCI Danbury

“is not making adequate use of [her] authority” to “remove

medically vulnerable inmates from the dangerous environment at

FCI Danbury,” and neither “implementing Section 3582(c)(1)(A) in

the way Congress intended when it adopted the First Step Act,”

nor making “any noticeable effort to update the process for

evaluating ‘compassionate release’ requests to take account of

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the COVID-19 pandemic.” Id. at *24. As such, Judge Shea

concluded that the “[p]etitioners have shown a likelihood of

success on the merits on their claim that the [r]espondents are

displaying deliberate indifference in violation of the Eighth

Amendment.” Id.

     Judge Shea found that the “medically vulnerable” subclass

members made a showing of irreparable harm because the alleged

constitutional violation constitutes irreparable harm and the

“inmates live and sleep in large dormitories lined with bunk

beds” posing a “grave risk” to them and making it impossible to

“institut[e] effective social distancing[.]” Id. at *27. Judge

Shea found that the final two factors—the balance of the

equities and the public interest—weighed in favor of the

petitioners. Id. at *27-*31. Judge Shea issued a Temporary

Restraining Order to “accelerat[e] the process for evaluating

inmates for home confinement and compassionate release, and

focus[] that process on achieving a ‘reasonable’ balance between

the risks to inmate safety and the risks to public safety.” Id.

at *32. Judge Shea ordered BOP to provide a list of medically

vulnerable inmates at FCI Danbury. Id.

     Mr. Evans urges this Court to reconsider its prior

decisions denying his motions for release from custody in light




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of Martinez Brooks v. Easter. Def.’s Mot., ECF No. 229 at 11. 2

Mr. Evans contends—and the government does not dispute—that he

is a member of the “medically vulnerable” subclass. See id. at

9; see also Gov’t’s Opp’n, ECF No. 232 at 10-11. Indeed, the

government confirms that “[t]he parties in Martinez-Brooks v.

Easter identified [Mr. Evans] as being at higher risk for severe

illness from COVID-19 due to his severe obesity (i.e., BMI [Body

Mass Index] of 40 or higher).” Gov’t’s Opp’n, ECF No. 232 at 10.

     At this Court’s direction, BOP assessed Mr. Evans’ risk

factors and determined his eligibility to serve his sentence in

home confinement rather than at FCI Danbury during the COVID-19

pandemic. See id. at 8. On April 10, 2020, BOP found that

Mr. Evans was ineligible for home confinement for three reasons:

“(1) [his] primary offense is listed as a crime of violence,

which presents a greater security public safety factor;

(2) [his] pattern risk score (risk of recidivism) is low (and

not minimum); and (3) [he] only has completed 18.3 percent (not

50 percent) of his sentence.” Id. at 8-9; see also id. at 9 n.5

(“As of June 4, 2020, [Mr. Evans] has served only 21.4 percent

of his sentence.”).


2 The Court will not construe the pro se motion as a motion for
reconsideration because Mr. Evans, through counsel, made clear
that his motions for release from custody did not seek
compassionate release under 18 U.S.C. § 3582(c)(1)(A). See
Def.’s Mot. for Release from Custody, ECF No. 222 at 5-6; see
also Gov’t’s Opp’n, ECF No. 232 at 18-19.
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     On May 20, 2020, the Warden of FCI Danbury denied

Mr. Evans’ request for a sentence reduction because: (1) he has

“not shown evidence of a terminal illness”; (2) he has “not been

diagnosed with a terminal illness with an end of life trajectory

nor 18 month life expectancy”; and (3) he is “currently being

treated for sleep apnea, essential hypertension and obesity

which [are] currently being managed by FCI Danbury medical.”

Gov’t’s Ex. A, ECF No. 232-1 at 2. The Warden of FCI Danbury

further explained that Mr. Evans was ineligible for home

confinement under the Coronavirus Aid, Relief, and Economic

Security Act (“CARES Act”) because he was “convicted of a crime

of violence, [he has] not served 50% of [his] sentence, [he has]

greater than 18 months remaining and [he is] currently a low

risk of recidivism.” Id.

     Against this backdrop, the Court turns to the statutory

exhaustion requirement for compassionate release. The government

argues that Mr. Evans has failed to exhaust his administrative

remedies. Gov’t’s Opp’n, ECF No. 232 at 18. The government notes

that it has taken the position that the exhaustion requirement

was waivable. Id. at 20 n.12. The government takes the opposite

view in this case, relying on persuasive authority that holds

the exhaustion requirement “presents a glaring roadblock

foreclosing compassionate release at this point.” Id. at 19

(quoting United States v. Raia, 954 F.3d 594, 597 (3d Cir.

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2020)). “In the District of Columbia, every court that has

considered the jurisdictional or non-jurisdictional nature of

the mandate . . . has consistently concluded that section

3582(c)(1)(A)’s exhaustion requirement is not jurisdictional and

is thus subject to equitable waiver by the court.” United States

v. Johnson, No. 15-cr-125 (KBJ), 2020 WL 3041923, at *3 (D.D.C.

May 16, 2020) (collecting cases).

     Here, it is undisputed that the Warden of FCI Danbury

denied Mr. Evans’ request for a sentence reduction. See Gov’t’s

Ex. A, ECF No. 232-1 at 2. “Regardless of whether this rejection

has fulfilled Section 3582(c)’s exhaustion requirement, the

Court concludes that requiring [Mr. Evans] to exhaust [his

administrative remedies] would cause an unnecessary delay

contrary to the purposes of the First Step Act.” United States

v. Wheeler, No. 19-cr-85 (ESH), 2020 WL 2801289, at *2 (D.D.C.

May 29, 2020). Accordingly, the Court will proceed to the merits

of Mr. Evans’ motion. 3


3 Mr. Evans requests the appointment of counsel and “more time to
address this matter.” Def.’s Reply, ECF No. 236 at 1. And
Mr. Evans asserts that defense counsel no longer represents him.
Id. The docket, however, indicates that defense counsel has not
filed a motion to withdraw under Local Criminal Rule 44.5(d).
See generally Docket for Crim. Action No. 18-103. Nonetheless,
there is no constitutional right to appointed counsel in post-
conviction proceedings. Pennsylvania v. Finley, 481 U.S. 551,
555 (1987). The Court may exercise its “discretion to appoint
counsel in proceedings under 18 U.S.C. § 3582(c) if the
interests of justice so require.” United States v. Richardson,
No. 18-cr-507-LFL, 2020 WL 2200853, at *1 (E.D.N.C. May 6,
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     On the merits, the Court is persuaded that Mr. Evans’

serious medical conditions, in conjunction with the ongoing

COVID-19 pandemic and the active COVID-19 outbreak in FCI

Danbury, qualify as “extraordinary and compelling reasons”

justifying his release under Section 3582(c)(1)(A)(i). Contrary

to the government’s contention, Mr. Evans has met his burden.

See Gov’t’s Opp’n, ECF No. 232 at 27. As the government

correctly points out, the Sentencing Commission’s applicable

policy statement delineates the specific circumstances that

constitute “extraordinary and compelling reasons.” Id. (citing

U.S.S.G. § 1B1.13, cmt. n.1(A)). One such circumstance is where

a defendant is “suffering from a serious physical or medical

condition . . . that substantially diminishes the ability of the

defendant to provide self-care within the environment of a

correctional facility and from which he or she is not expected

to recover.” U.S.S.G. § 1B1.13, cmt. n.1(A)(ii). Mr. Evans

clears this hurdle.

     Mr. Evans asserts that he suffers from severe obesity, high

blood pressure, hypertension, and sleep apnea. Def.’s Mot., ECF




2020); cf. 18 U.S.C. § 3006A(a)(2)(B) (providing interests-of-
justice standard for appointment of counsel in similar post-
conviction proceedings). Because the issues presented in the
parties’ submissions are straightforward, the Court finds that
the interests of justice do not compel the appointment of
counsel or additional time in this matter. Accordingly,
Mr. Evans’ requests are DENIED.
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No. 229 at 9-10. Mr. Evans claims that he has an autoimmune

disease. Id. at 10. And he is prescribed Aspirin for stroke and

Hydrochlorothiazide for water retention. Id. However, Mr. Evans’

medical records do not support his claims of autoimmune disease

and stroke. See Gov’t’s Opp’n, ECF No. 232 at 28-29. The

government takes issue with Mr. Evan’s medical conditions, which

have not been identified by the Centers for Disease Control and

Prevention (“CDC”) as creating a “high-risk” for severe illness

due to COVID-19. Id. at 29. For example, Mr. Evans suffers from

“essential (primary) hypertension,” but the government points

out that “CDC guidance reflects that pulmonary hypertension

constitutes a serious heart condition that places an individual

at increased risk [from COVID-19].” Id. (citation omitted).

     The government acknowledges the fact that Mr. Evans is

obese, but the government contends that only “severe obesity

(BMI of 40 or higher)” qualifies as one of the conditions

identified by the CDC. Id. at 30. According to the government,

Mr. Evans’ weight falls outside of the category of “severe

obesity” because “he weighed 282.8 pounds on June 4, 2020,

which, at a height of 6’1’’, results in a BMI of 37.3.” Id.

(citation omitted). 4 Mr. Evans claims that he is 5’9’’ based on


4 On June 25, 2020, the CDC revised its guidance for certain
underlying medical conditions based on new data about COVID-19.
See CDC, People Who Need Extra Precautions: People of Any Age
With Underlying Medical Conditions, https://perma.cc/PG9V-ESDM.
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his BOP identification card. Def.’s Reply, ECF No. 236 at 1. The

medical records show that Mr. Evans is 6’1’’ (or 185.4

centimeters). Gov’t’s Sealed Ex. F, ECF No. 233-6 at 7.

     At the time of sentencing, Mr. Evans weighed 360 pounds.

Presentence Investigation Report (“PSR”), ECF No. 99 at 22 ¶ 98.

The government correctly notes that Mr. Evans weighed 350 pounds

in May 2019, and the parties in Martinez-Brooks v. Easter

identified him as being at higher risk for severe illness from

COVID-19 due to his severe obesity. Gov’t’s Opp’n, ECF No. 232

at 30 n.17. Having reviewed Mr. Evans’ medical records, the

Court observes that Mr. Evans’ weight has changed. See Gov’t’s

Sealed Ex. A, ECF No. 233-1 at 3, 5; see also Gov’t’s Sealed Ex.

H, ECF No. 233-8 at 2. But the precise weight of Mr. Evans does

not detract from his medical conditions, taken together, that

place him at heightened risk of severe illness or death from

COVID-19. See United States v. White, No. 13-cr-20653-1, 2020 WL

2557077, at *5 (E.D. Mich. May 20, 2020) (finding that the

combination of defendant’s obesity and hypertension constituted

an “extraordinary and compelling reason” for his release where

the defendant was 5’8’’ and weighed 254 pounds with a BMI of

38.6).




The CDC makes clear that obesity, defined as a BMI of 30 or
above, increases a person’s risk of severe illness from COVID-
19. Id.
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     Courts have found that “extraordinary and compelling

reasons” exist where the combination of a defendant’s physical

and medical conditions, including hypertension, high blood

pressure, obesity, and sleep apnea, constitutes a serious

medical condition and substantially diminishes the ability of

the defendant to provide self-care within a prison. See, e.g.,

United States v. Jackson, No. 02-cr-30020, 2020 WL 2735724, at

*3 (W.D. Va. May 26, 2020) (finding extraordinary and compelling

reasons where the defendant suffered from type 2 diabetes,

asthma, sleep apnea, and obesity); United States v. Scparta,

No. 18-cr-578 (AJN), 2020 WL 1910481, at *9 (S.D.N.Y. Apr. 20,

2020) (finding extraordinary and compelling reasons based on the

defendant’s hypertension, sleep apnea, high blood pressure, and

high cholesterol); United States v. Gross, No. 15-cr-769 (AJN),

2020 WL 1673244, at *1 (S.D.N.Y. Apr. 6, 2020) (finding that

“the combination of [defendant’s] health conditions and his

incarceration compounds the risk COVID-19 poses to him, placing

him in particularly grave danger” (internal citation and

quotation marks omitted)). None of Mr. Evans’ medical conditions

alone constitute an extraordinary and compelling reason

justifying compassionate release. When taken together, however,

Mr. Evans’ medical conditions increase his risk for severe

illness from COVID-19.

     What is more, Mr. Evans is incarcerated at FCI Danbury,

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which is the site of a COVID-19 outbreak. See Martinez-Brooks,

2020 WL 2405350, at *20 (“It is undisputed that there is an

active and serious outbreak of COVID-19 at FCI Danbury.”); see

also Gov’t’s Opp’n, ECF No. 232 at 15 n.9 (noting that the

Attorney General has singled out FCI Danbury as one of the BOP

facilities where COVID-19 has impacted prison operations). Judge

Shea identified a number of deficiencies in BOP’s response to

COVID-19 at FCI Danbury, noting that “[t]he extent to which the

Warden has implemented adequate measures to control the COVID-19

outbreak at FCI Danbury and protect inmates is hotly

disputed[.]” Martinez-Brooks, 2020 WL 2405350, at *4. Judge Shea

found that “true social distancing appears to be unachievable at

FCI Danbury, creating an environment where the risk of

transmission is significantly heightened.” Id. at *5.

     Judge Shea observed that “sixty-nine inmates at FCI Danbury

have tested positive, out of an inmate population of

approximately 1,000. But this figure may well understate the

true number of COVID-19 cases at FCI Danbury, in light of the

limited testing that has been conducted.” Id. at *4 (citation

omitted). To make matters worse, at least “[o]ne inmate has died

since the [COVID-19] crisis began.” Id. As Judge Shea explained,

all of those circumstances supported the issuance of the

Temporary Restraining Order, “which requires the Warden . . . to

explain why, apparently, no consideration is being given in this

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process to the serious risk of illness or death posed to the

medically vulnerable subclass.” Id. at *26. This Court therefore

finds that Mr. Evans’ medical conditions, in combination with

the active COVID-19 outbreak at FCI Danbury and the ongoing

COVID-19 pandemic, constitute “extraordinary and compelling

reasons” for compassionate release under Section

3582(c)(1)(A)(i).

     Having found that Mr. Evans satisfies his burden of

demonstrating extraordinary and compelling reasons, “the Court

must reassess the sentencing factors that Congress established

at 18 U.S.C. § 3553(a) to the extent applicable, including the

need for the sentence imposed ‘to protect the public from

further crimes of the defendant,’ and any such reduction must

likewise be consistent with the Sentencing Commission’s

expressed policy concern about the release of dangerous

offenders” as outlined in U.S.S.G. § 1B1.13(2). Johnson, 2020 WL

3041923, at *11 (quoting 18 U.S.C. § 3553(a)(2)(C)). The

applicable Section 3553(a) factors—including the nature and

circumstances of the offense, 18 U.S.C. § 3553(a)(1); the

defendant’s history and characteristics, id.; and the need for

the sentence imposed to reflect the seriousness of the offense,

afford adequate deterrence to criminal conduct, and protect the

public from the defendant’s further crimes, id. § 3553(a)(2)(A)-

(C)—strongly weigh against a reduction from the sixty-month term

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of imprisonment to time served. 5

     With regard to the nature and circumstances of the offense,

on September 19, 2018, Mr. Evans pled guilty to Count Two of the

Indictment, charging him with Interference with Interstate

Commerce by Extortion, and Aiding and Abetting and Causing and

Act to Be Done, in violation of 18 U.S.C. §§ 1951(a) and 2. Plea

Agreement, ECF No. 73 at 1 ¶ 1. The nature of Mr. Evans’ offense

is serious. It is undisputed that “[Mr. Evans’ guilty] plea and

sentence in this case were based on his participation in a

manipulative and sinister extortion, fraud, and money laundering

scheme with members of his family and others that resulted in

Daniel Zancan embezzling more than $4.2 million from his D.C.

employer and its subsidiary.” Gov’t’s Opp’n, ECF No. 232 at 33.

     Mr. Evans concedes that he threatened Mr. Zancan and

Mr. Zancan’s family. According to the government, Mr. Evans


5 Mr. Evans requests that this Court “grant him compassionate
release under house arrest until a vaccine is developed sometime
this winter, at which time, [he] will return to prison to finish
his sentence.” Def.’s Mot., ECF No. 229 at 11. The Court lacks
the authority to temporarily release Mr. Evans. See Order,
United States v. Evans, No. 18-103 (EGS) (D.D.C. Apr. 10, 2020),
ECF No. 225 at 6, 8. “Section 3582(c) only permits [the Court]
to ‘reduce’ a term of imprisonment, not to resentence.” United
States v. Ng Lap Seng, No. 15-cr-706 (VSB), 2020 WL 2301202, at
*8 (S.D.N.Y. May 8, 2020) (citation omitted). “Thus, the only
way to grant [Mr. Evans] the relief [he] seeks (i.e., release
from prison) under Section 3582(c) is to reduce [his] sentence
to time served — in other words, to permanently release [him].”
United States v. Roberts, No. 18-cr-528-5 (JMF), 2020 WL
1700032, at *3 (S.D.N.Y. Apr. 8, 2020).


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inflicted “psychological turmoil” on Mr. Zancan. Gov’t’s Mem. in

Aid of Sentencing, ECF No. 105 at 1. Mr. Evans “impersonated a

mobster while asking Daniel Zancan, ‘Do I need to tell you where

your kids go to school? Do I need to tell you where you live?’”

Id. As part of the scheme, Mr. Evans received from Mr. Zancan,

among other things, gold bars worth approximately $1.6 million.

Statement of Offense (“SOF”), ECF No. 74 at 9 ¶ 14(hh).

Mr. Evans and his co-conspirators purchased jewelry, watches,

and gold coins with the ill-gotten funds. Id. at 6 ¶ 14(o), 9 ¶

14(mm & oo), 10 ¶ 14(uu). Mr. Evans wired $195,000 to a car

dealership for the purchase of a 2009 Rolls Royce Phantom. Id.

at 11 ¶ 14(vv). The Court finds that the nature and

circumstances of the offense strongly favor incarceration.

     In imposing the sentence, the Court considered Mr. Evans’

history and characteristics, including his family support. See

Sentencing Hr’g Tr. (Apr. 8, 2019), ECF No. 161 at 51-52.

Mr. Evans, who is thirty-one years old, described himself as a

“good father to his children.” Def.’s Mem. in Aid of Sentencing,

ECF No. 111-1 at 10. Mr. Evans and his wife have three children.

PSR, ECF No. 99 at 21 ¶ 94. And Mr. Evans has no prior criminal

convictions. Id. at 7 ¶ 23.

     The Court cannot find that Mr. Evans’ history and

characteristics weigh in favor of reducing his sentence. His

parents (Candy Evans and Archie Kaslov) and his siblings (Robert

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Evans and Corry Blue Evans) are co-defendants in this case. PSR,

ECF No. 99 at 20 ¶¶ 89-90. Mr. Evans indicated that his parents

financially supported him. Id. at 23 ¶ 109. But Mr. Evans

admitted that his relationship with his family has deteriorated.

Def.’s Mem. in Aid of Sentencing, ECF No. 111-1 at 10. Between

2015 and 2017, Mr. Evans worked with “his father’s scrap

business in which they collected metal and other items for

recycle.” PSR, ECF No. 99 at 23 ¶ 110. Mr. Evans was unemployed

at the time of sentencing, and he did not report a history of

documented employment. Id. at 23 ¶¶ 108-109.

     Mr. Evans’ sixty-month term of imprisonment reflects the

seriousness of the offense, which counsels against a sentence

reduction. See 18 U.S.C. § 3553(a)(2)(A). On April 8, 2019, the

Court sentenced Mr. Evans to a sixty-month prison term, to be

followed by three years of supervised release, and ordered

restitution in the amount of $4,217,542.86. J., ECF No. 132 at

2-3, 6. The Court entered a forfeiture money judgment against

him in the amount of $3,119,010. Final Order of Forfeiture, ECF

No. 132-1 at 1-6.

     During the sentencing hearing, the government explained

Mr. Evans’ efforts to assist the government, including his

decision to voluntarily turn over gold bars that were hidden in

a can with paint when the FBI conducted a search of his

apartment. See Sentencing Hr’g Tr., ECF No. 161 at 16. The Court

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agreed that Mr. Evans should receive some credit for assisting

the government in recovering the gold bars, voluntarily turning

over assets, and participating in debriefing sessions. Id. at

52. The Court credited Mr. Evans’ acceptance of responsibility.

Id. at 51. Nonetheless, the Court imposed the sixty-month term

of imprisonment, which was within the advisory Sentencing

Guidelines range. In doing so, the Court stated that “a sentence

of 60 months is appropriate, and [the Court] think[s] it sends

the right message to others, that people who participate in

ventures of this type, whether it be a small business

corporation or large business, run the risk of being

incarcerated, even though they have assisted to a certain

respect the government.” Id. And the sentence continues to

afford adequate deterrence to criminal conduct and protect the

public from further crimes of Mr. Evans. See 18 U.S.C.

§ 3553(a)(2)(B) & (C).

     As to Mr. Evans’ dangerousness, the government argues—and

the Court agrees—that Mr. Evans “has not sufficiently

demonstrated that he is no longer a danger to public safety.”

Gov’t’s Opp’n, ECF No. 232 at 33 (citation omitted). Mr. Evans’

threats to Mr. Zancan and his children are troubling. Mr. Evans

fails to address whether his criminal conduct no longer poses a

danger to the community. See generally Def.’s Mot., ECF No. 229;

see also United States v. Jackson, No. 19-cr-347 (TNM), 2020 WL

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3402391, at *7 (D.D.C. June 19, 2020) (finding that a

defendant’s dangerousness favored continued detention where he

“offered no persuasive reason why the Court should find that he

no longer poses a danger”). Given the gravity of the offense and

the circumstances of the underlying criminal conduct, the Court

is not persuaded that Mr. Evans would not pose a danger to the

community upon his release. See Johnson, 2020 WL 3041923, at

*11; see also U.S.S.G. § 1B1.13(2).

     As BOP endeavors to comply with Judge Shea’s rulings in

Martinez-Brooks, the Court is mindful that COVID-19 poses a

serious risk to Mr. Evans due to his medical conditions. The

Court cannot grant Mr. Evans’ requested relief, however. In

considering the applicable Section 3553(a) factors and

Mr. Evans’ dangerousness, the Court finds that granting his

motion for compassionate release would be inconsistent with the

Section 3553(a) factors. See, e.g., United States v. Sears,

No. 19-cr-21 (KBJ), 2020 WL 3250717, at *3 (D.D.C. June 16,

2020) (finding that the Section 3553(a) factors weighed against

compassionate release despite extraordinary and compelling

reasons justifying release); United States v. Carter, No. 18-cr-

390 (PAE), 2020 WL 3051357, at *3 (S.D.N.Y. June 8, 2020)

(same). The Court concludes that a reduction in the previously

imposed term of imprisonment would not comport with Section

3553(a)’s purposes of punishment. See 18 U.S.C. § 3553(a).

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     Accordingly, it is hereby

     ORDERED that Defendant’s Motion for Compassionate Release,

ECF No. 229, is DENIED.

     SO ORDERED.

Signed:   Emmet G. Sullivan
          United States District Judge
          June 30, 2020




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